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 1 GUTRIDE SAFIER LLP                                CROWELL & MORING LLP
   SETH A. SAFIER (State Bar No. 197427)             Valerie M. Goo (State Bar No. 1873343)
 2 MARIE A. MCCRARY (State Bar No. 262670)           VGoo@crowell.com
   HAYLEY REYNOLDS (State Bar No. 306427)            Raija J. Horstman (State Bar No. 277301)
 3 100 Pine Street, Suite 1250                       RHorstman@crowell.com
   San Francisco, CA 94111                           515 South Flower Street, 40th Floor
 4 Telephone: (415) 639-9090                         Telephone: 213.622.4750
   Facsimile: (415) 449-6469                         Facsimile:     213 622.2690
 5
   Attorneys for Plaintiffs Jennifer Marek           Christopher Cole (pro hac pending)
 6 and Isabelle Dwight                               CCole@crowell.com
                                                     1001 Pennsylvania Avenue NW
 7                                                   Washington, D.C. 20004
                                                     Telephone: 202.624.2500
 8                                                   Facsimile:   202.628.5116
 9                                                   Attorneys for Defendants
10
11                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                 SAN FRANCISCO DIVISION
13
14    JENNIFER MAREK and ISABELLE                     Case No. 3:21-cv-07174 WHO
      DWIGHT, as individuals, on behalf of
15    themselves, the general public and those
      similarly situated,
16                                                    PROPOSED STIPULATED
                        Plaintiffs,                   ESI PROTOCOL ORDER
17
             v.
18
      MOLSON COORS BEVERAGE COMPANY                   Honorable William H. Orrick
19    USA LLC; MOLSON COORS BEVERAGE
      COMPANY,
20
21                          Defendants.
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 2
 3      1. PURPOSE

 4          This Order will govern discovery of electronically stored information (“ESI”) in this
     case as a supplement to the Federal Rules of Civil Procedure, this Court’s Guidelines for the
 5
     Discovery of Electronically Stored Information, and any other applicable orders and rules.
 6
        2. COOPERATION
 7
            The parties are aware of the importance the Court places on cooperation and commit to
 8
     cooperate in good faith throughout the matter consistent with this Court’s Guidelines for the
 9
     Discovery of ESI.
10
        3. LIAISON
11
            The parties have identified liaisons to each other who are and will be knowledgeable
12
     about and responsible for discussing their respective ESI. Each e-discovery liaison will be, or
13
     have access to those who are, knowledgeable about the technical aspects of e-discovery,
14
     including the location, nature, accessibility, format, collection, search methodologies, and
15
     production of ESI in this matter. The parties will rely on the liaisons, as needed, to confer
16
     about ESI and to help resolve disputes without court intervention.
17
        4. PRESERVATION
18
            The parties have discussed their preservation obligations and needs and agree that
19
     preservation of potentially relevant ESI will be reasonable and proportionate. To reduce the
20
     costs and burdens of preservation and to ensure proper ESI is preserved, the parties agree that:
21
            a) Only ESI created or received between January 1, 2018 and the present will be
22             preserved;
            b) The parties have exchanged a list of the types of ESI they believe should be
23
               preserved and the custodians, or general job titles or descriptions of custodians, for
24             whom they believe ESI should be preserved, e.g., “HR head,” “scientist,” and
               “marketing manager.” The parties shall add or remove custodians as reasonably
25             necessary;
26          c) The parties have agreed on the number of custodians per party for whom ESI will
               be preserved (i.e., for Defendant, the thirteen custodians identified);
27
            d) These data sources are not reasonably accessible because of undue burden or cost
28             pursuant to Fed. R. Civ. P. 26(b)(2)(B) and ESI from these sources will be


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 1              preserved but not searched, reviewed, or produced: backup media, systems no
                longer in use that cannot be accessed;
 2
            e) Among the sources of data the parties agree are not reasonably accessible, the
 3             parties agree not to preserve the following:
 4                     i.   Deleted, slack, fragmented, or other data only accessible by forensics.
                      ii.   Random access memory (RAM), temporary files, or other ephemeral
 5
                            data that are difficult to preserve without disabling the operating system.
 6                   iii.   On-line access data such as temporary internet files, history, cache and
                            cookies.
 7
                      iv.   Data in metadata fields that are frequently updated automatically, such
 8                          as last-opened dates.
 9                    v.    Back-up data that are substantially duplicative of data that are more
                            accessible elsewhere.
10
                      vi.   Server, system or network logs.
11
                     vii.   Data remaining from systems no longer in use that is unintelligible on
12                          the systems in use.
                    viii.   Data exclusively maintained on mobile devices or accessible to such
13
                            devices (e.g., iCloud, personal messaging apps).
14                    ix.   digital voicemail
15                    x.    automatically saved versions of documents ;
16          f) In addition to the agreements above, the parties agree data from these sources (a)
               could contain relevant information but (b) under the proportionality factors, should
17             not be preserved.
18      5. SEARCH

19          The parties agree that in responding to an initial Fed. R. Civ. P. 34 request, or earlier if

20   appropriate, they will meet and confer about methods to search ESI in order to identify ESI

21   that is subject to production in discovery and filter out ESI that is not subject to discovery.

22      6. PRODUCTION FORMATS

23          The parties agree to produce documents in TIFF with load files or native, or a

24   combination thereof, file formats. If particular documents warrant a different format, the
     parties will cooperate to arrange for the mutually acceptable production of such documents.
25
     The parties agree not to degrade the searchability of documents as part of the document
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     production process.
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        7. PHASING
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            The Parties agree to meet and confer concerning whether the production of responsive
 3   ESI should occur in phases, by prioritizing selected sources, custodians, topics and/or aspects
 4   of the case.
 5      8. DOCUMENTS PROTECTED FROM DISCOVERY
 6          a) Pursuant to Fed. R. Evid. 502(d), the production of a privileged or work-product-
               protected document, whether inadvertent or otherwise, is not a waiver of privilege
 7
               or protection from discovery in this case or in any other federal or state proceeding.
 8             For example, the mere production of privileged or work-product-protected
               documents in this case as part of a mass production is not itself a waiver in this case
 9             or in any other federal or state proceeding.
10          c) The following categories of privileged information need not be placed on a
               privilege log:
11
                 i.   communications involving trial counsel that post-date the filing of the
12                    complaint.

13              ii.   communications exclusively between a party or its representative(s) and its
                      outside counsel;
14             iii.   work product created by internal or outside counsel related to this litigation;
15             iv.    inclusive email threads that are suppressed pursuant to the provisions of this
                      Stipulation and Order;
16
                v.    privileged draft contracts, draft regulatory or draft litigation filings;
17
               vi.    privileged non-responsive family members of responsive documents;
18            vii.    redacted documents where the reason for the redaction is provided in the text of
19                    the redaction box or metadata (e.g., Attorney-Client Privilege, Work Product,
                      Privacy); and
20           viii.    materials regarding activities undertaken in compliance with the duty to
21                    preserve information (including, but not limited to, litigation hold letters), which
                      are protected from disclosure under Federal Rules of Civil Procedure
22                    26(b)(3)(A) and (B).

23   Communications may be identified on a privilege log by category, rather than individually, if

24   appropriate.

25      9. MODIFICATION

26          This Stipulated Order may be modified by a Stipulated Order of the parties or by the

27   Court for good cause shown.

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     IT IS SO STIPULATED, through Counsel of Record.
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     Dated: March 29, 2022
 4
 5
 6
      By: /s/ Hayley A. Reynolds        /         By: /s/ Raija J. Horstman           /
 7    GUTRIDE SAFIER LLP                          CROWELL & MORING LLP
      Seth A. Safier                              Valerie M. Goo
 8    Marie A. McCrary                            Raija J. Horstman
      Hayley A. Reynolds                          515 South Flower Street, 40th Floor
 9    100 Pine Street, Suite 1250                 Telephone: 213.622.4750
      San Francisco, CA 94111                     Facsimile:     213 622.2690
10
      Telephone: (415) 639-9090                   VGoo@crowell.com
11    Facsimile: (515) 449-6469                   RHorstman@crowell.com
      seth@gutridesafier.com
12    marie@gutridesafier.com                     Christopher Cole (pro hac pending)
      hayley@gutridesafier.com                    1001 Pennsylvania Avenue NW
13
                                                  Washington, D.C. 20004
      Attorneys for Plaintiffs                    Telephone: 202.624.2500
14
                                                  Facsimile:   202.628.5116
15                                                CCole@crowell.com
16
                                                  Attorneys for Defendant
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21          IT IS ORDERED that the forgoing Agreement is approved.
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23    Dated:
24                                          HONORABLE JUDGE WILLIAM H. ORRICK
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